Case 2:17-cv-01321-WJM-MF Document 30-1 Filed 03/01/18 Page 1 of 7 PageID: 282



Patrick J. Cerillo, Esq.
Patrick J. Cerillo, LLC
4 Walter E. Foran Blvd., Suite 402
Flemington, NJ 08822
Attorney ID No. 01481-1980
T: (908) 284-0997
F: (908) 284-0915
pjcerillolaw@comcast.net
Attorneys for Plaintiff

                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


                                                 JURY TRIAL DEMANDED
MALIBU MEDIA, LLC,
                                                 Case No. 2:17-cv-01321-WJM-MF
                     Plaintiff,

v.

TIM MCMANUS,

                     Defendant.




           PLAINTIFF’S MOTION FOR LEAVE TO FILE SECOND AMENDED
         COMPLAINT TO ADD PARTY DEFENDANT AND INCORPORATED
                   MEMORANDUM OF LAW IN SUPPORT


                                  Motion Day: April 2, 2018

                          NO ORAL ARGUMENT REQUESTED




                                             1
Case 2:17-cv-01321-WJM-MF Document 30-1 Filed 03/01/18 Page 2 of 7 PageID: 283



Contents
I. INTRODUCTION ................................................................................................................... 4
II. LEGAL STANDARD ............................................................................................................. 5
III.     ARGUMENT ....................................................................................................................... 5
   A. Plaintiff Has Not Delayed This Case ................................................................................... 5
   B. No Bad Faith Exists ............................................................................................................. 6
   C. Defendant Will Not Be Prejudiced ...................................................................................... 6
IV.      CONCLUSION .................................................................................................................... 7




                                                                    2
Case 2:17-cv-01321-WJM-MF Document 30-1 Filed 03/01/18 Page 3 of 7 PageID: 284



Cases
Adams v. Gould, Inc., 739 F.2d 858 * (3d Cir. Pa. 1984) ............................................................... 4
Nesselrotte v. Allegheny Energy, Inc., 2007 U.S. Dist. LEXIS 79147 * (W.D. Pa. Oct. 25, 2007)
  ................................................................................................................................................. 4, 6
Statutes
Fed. R. Civ. P. 15 ........................................................................................................................ 3, 4




                                                                           3
Case 2:17-cv-01321-WJM-MF Document 30-1 Filed 03/01/18 Page 4 of 7 PageID: 285



        Plaintiff, Malibu Media, LLC, by and through undersigned counsel and pursuant to Fed.

R. Civ. P. 15, hereby respectfully submits this Motion and Incorporated Memorandum in support

of its request for Leave to File Second Amended Complaint to Add Party Defendant.

   I.      INTRODUCTION

        This is a copyright infringement case originally against a John Doe Defendant known to

Plaintiff only by an IP address. On May 8, 2017, Plaintiff was granted leave to serve a third party

subpoena on Defendant’s ISP, Optimum Online, to obtain the Defendants’ identifying

information [CM/ECF 5]. The ISP returned information that the subscriber was a limited liability

company named Greenwood Digital, LLC (“Greenwood Digital”). Based on evidence from its

investigator, Plaintiff believed that an individual, Tim McManus, who is Partner in Greenwood

Digital, and who owns, works, and resides at, the same address as Greenwood Digital, was most

likely the natural person committing the infringing acts. Indeed, in the instant case, Plaintiff

possesses electronic evidence proving infringement of Plaintiff’s works through Greenwood

Digital’s IP address. Additionally, the subject of the works that Plaintiff’s investigators recorded

being distributed from the subject IP Address match Defendants’ Defendant Tim McManus’s

interests and professional background. Accordingly, Plaintiff had adequate factual basis to name

Tim McManus, and filed its First Amended Complaint on October 19, 2017 [CM/ECF 10].

        Thereafter, Defendant McManus filed his Answer and Counterclaims raising an issue as

to Plaintiff’s naming McManus, and not the subscriber Greenwood Digital, among other

defenses and Counterclaims. [CM/ECF 20]. Therefore, Plaintiff has adequate factual basis to

additionally name Greenwood Digital, the ISP subscriber, for direct and vicarious copyright

infringement, and seeks entry of an order permitting it to do so. See Plaintiff’s Proposed Second

Amended Complaint, attached to Notice of Motion on the instant motion, Exhibit “B.”



                                                 4
Case 2:17-cv-01321-WJM-MF Document 30-1 Filed 03/01/18 Page 5 of 7 PageID: 286



   II.       LEGAL STANDARD

          Fed. R. Civ. P. 15(a) provides that leave to amend a pleading “shall be freely given when

justice so requires.” “[U]nder the liberal pleading philosophy of the federal rules as incorporated

in Rule 15(a), an amendment should be allowed whenever there has not been undue delay, bad

faith on the part of the plaintiff, or prejudice to the defendant as a result of the delay.” Adams v.

Gould, Inc., 739 F.2d 858 * (3d Cir. Pa. 1984). Specifically, as to prejudice, courts “have

considered whether allowing an amendment would result in additional discovery, cost, and

preparation to defend against new facts or new theories.” Nesselrotte v. Allegheny Energy, Inc.,

2007 U.S. Dist. LEXIS 79147 * (W.D. Pa. Oct. 25, 2007).

   III.      ARGUMENT

          A. Plaintiff Has Not Delayed This Case

          On May 8, 2017, Plaintiff was granted leave to serve a third party subpoena on

Defendant’s ISP, Altice f/k/a Optimum, to obtain the Defendant’s identifying information

[CM/ECF 5]. Following the Court’s order, Plaintiff issued the subpoena on Defendant’s ISP or

about May 12, 2017. On or about July 6, 2017, Plaintiff received the ISP’s response. Based on

available evidence, Plaintiff initially decided to proceed only against Defendant Tim McManus,

and filed its Amended Complaint on October 19, 2017 [CM/ECF 10]. Defendant McManus was

served with the Amended Complaint on October 25, 2017 [CM/ECF 15]. Defendant initially

failed to Answer the Amended Complaint [See Request for Default CM/ECF 16, filed November

30, 2017], but then, on December 8, 2017, appeared via defense counsel and filed a Motion to

Vacate the Clerk’s Default [CM/ECF 18]. The default was vacated on January 8, 2018 [CM/ECF

19], and Defendant McManus filed his Answer and Counterclaims on January 8, 2018 [CM/ECF

20]. Based on further factual development, and issues raised by Defendant McManus in his



                                                  5
Case 2:17-cv-01321-WJM-MF Document 30-1 Filed 03/01/18 Page 6 of 7 PageID: 287



Counterclaims and in Opposition to Plaintiff’s pending Motion to Dismiss the Counterclaims

[CM/ECF 22, 25, and 28] Plaintiff is now filing the instant Motion for Leave to File a Second

Amended Complaint to name the ISP subscriber, Greenwood Digital, as a second party

Defendant. Accordingly, no undue delay exists.

       B. No Bad Faith Exists

       Plaintiff has a good faith basis to amend its Complaint to name Greenwood Digital as a

party Defendant. Indeed, in the instant case, Plaintiff possesses electronic evidence proving

infringement of Plaintiff’s works through Greenwood Digital’s IP address. As set forth on

Exhibit A to the Amended Complaint [CM/ECF 10-1], IPP International UG, Plaintiff’s

investigator, established a TCP/IP connection with a computer using IP address 96.57.99.138.

IPP, recorded Greenwood Digital’s IP Address engaging in numerous infringing transactions or

“hits” of Plaintiff’s copyrighted movies from January 21, 2016 through September 14, 2016.

Each one of these transactions was recorded in a packet capture (“PCAP”) PCAP computer file.

Each infringing transaction is also on a MySQL server log file. Each entry on the My SQL log

file correlates to a specific PCAP file in IPP’s possession. All of the foregoing evidence will be

produced during discovery and at trial along with declarations supporting same.

       Accordingly, Plaintiff believes it has a good faith basis to name the ISP subscriber,

Greenwood Digital, as a party Defendant, pursue its copyright lawsuit, and is in compliance with

its duties under Fed. R. Civ. P. 11(b).

       C. Defendant Will Not Be Prejudiced

       In determining if prejudice exists, courts “have considered whether allowing an

amendment would result in additional discovery, cost, and preparation to defend against new

facts or new theories.” Nesselrotte v. Allegheny Energy, Inc., 2007 U.S. Dist. LEXIS 79147 *



                                                6
Case 2:17-cv-01321-WJM-MF Document 30-1 Filed 03/01/18 Page 7 of 7 PageID: 288



(W.D. Pa. Oct. 25, 2007). Here, discovery has not commenced. And, Plaintiff is not presenting

any new facts or theories that Defendant cannot conduct discovery on. Therefore, Defendant

will not be prejudiced.

   IV.      CONCLUSION

         For the foregoing reasons, this Court should grant Plaintiff leave to file its Second

Amended Complaint to name Greenwood Digital, LLC as a party Defendant. See Proposed

Order attached to Notice of Motion on the instant motion, Exhibit “C.”

Dated: March 1, 2018                          Respectfully submitted,

                                              By:      /s/ Patrick J. Cerillo
                                              Patrick J. Cerillo, Esq.
                                              Patrick J. Cerillo, LLC
                                              4 Walter E. Foran Blvd., Suite 402
                                              Flemington, NJ 08822
                                              Attorney ID No. 01481-1980
                                              T: (908) 284-0997
                                              F: (908) 284-0915
                                              pjcerillolaw@comcast.net
                                              Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 1, 2018, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all parties through this

system.

                                                      By:    /s/ Patrick J. Cerillo




                                                 7
